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15                                   UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA
16
     LAS VEGAS SUN, INC., a Nevada                  Case No. 2:19-CV-01667-GMN-VCF
17   corporation,
18                      Plaintiff,
                                                    STIPULATION AND ORDER TO
19
              v.                                    EXTEND BRIEFING DEADLINES FOR
20                                                  MOTIONS TO COMPEL (ECF NOS. 279 &
     SHELDON ADELSON, an individual and as          281)
21   the alter ego of News+Media Capital Group
     LLC and as the alter ego of Las Vegas Review    (THIRD REQUEST)
22   Journal, Inc.; PATRICK DUMONT, an
     individual; NEWS+MEDIA CAPITAL GROUP
23   LLC, a Delaware limited liability company;
24   LAS VEGAS REVIEW-JOURNAL, INC., a
     Delaware corporation; and DOES, I-X,
25   inclusive,

26                      Defendants.
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 1   LAS VEGAS REVIEW-JOURNAL, INC., a
     Delaware corporation,
 2
                        Counterclaimant,
 3
              v.
 4
     LAS VEGAS SUN, INC. a Nevada corporation;
 5   BRIAN GREENSPUN, an individual and as the
     alter ego of Las Vegas Sun, Inc.; GREENSPUN
 6   MEDIA GROUP, LLC, a Nevada limited
     liability company, as the alter ego of Las Vegas
 7   Sun, Inc.
 8                      Counterclaim Defendants.
 9

10            Plaintiff/Counterdefendants Las Vegas Sun, Inc. (“Sun”), Brian Greenspun, and Greenspun
11   Media Group, LLC, by and through their counsel LEWIS ROCA ROTHGERBER CHRISTIE LLP,
12   PISANELLI BICE PLLC, and THE ALIOTO LAW FIRM, and Defendants/Counterclaimant
13   News+Media Capital Group LLC, Las Vegas Review-Journal, Inc., Sheldon Adelson, and Patrick
14   Dumont (together collectively referred to herein as “Defendants”), by and through their counsel of
15   record, KEMP JONES, LLP, and JENNER & BLOCK, LLP, hereby stipulate and agree as follows:
16            1.     On December 18, 2020, the Court granted the parties’ request to modify the briefing
17   schedule for discovery motions that were originally to be filed by December 15, 2020, for the
18   upcoming January 5, 2021, Case Management Conference. See ECF No. 272. The modified briefing
19   schedule allowed motions to be filed by December 22, 2020, with oppositions to be filed by January
20   5, 2021, and replies to be filed by January 15, 2021.
21            2.     On December 22, 2020, the Sun filed two discovery motions: Plaintiff’s Motion to
22   Compel Compliance with Interface Operations LLC DBA Adfam Subpoena (ECF No. 279) and
23   Plaintiff’s Omnibus Motion to Compel Production of Documents in Response to Plaintiff’s First
24   and Second Sets of Requests for Production of Documents (ECF No. 281) (together, the
25   “Motions to Compel”).
26            3.     On December 28, 2020, the Court set the Sun’s Motions to Compel for hearing on
27   February 23, 2021. See ECF No. 285.
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 1            4.    On December 30, 2020, the Court granted the parties’ stipulation to extend the
 2   deadline for Defendants’ oppositions to the Motions to Compel to January 12, 2021, and the
 3   deadline for the Sun’s replies to January 26, 2021 (ECF No. 292).
 4            5.    On January 12, 2021, Defendants’ oppositions to the Motions to Compel were filed.
 5   See ECF Nos. 307 & 308.
 6            6.    The Sun’s attorney who led in the meet and confers for the Motions to Compel, and
 7   with primary responsibility for drafting the replies in support of the Motions to Compel had to take
 8   a medical leave of absence. As a result, the parties have agreed to extend the deadline to
 9   accommodate her recovery period.
10            7.    The Sun shall have an extension to February 8, 2021, to file and serve its replies in
11   support of the Motions to Compel.
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 1            8.      The stipulated extension to the briefing schedule will not prejudice the parties, or
 2   impact other Court-imposed deadlines established in this case. This is the third request for a
 3   continuance of these deadlines.
 4   DATED this 21st day of January, 2021.                DATED this 21st day of January, 2021.
 5   LEWIS ROCA ROTHGERBER CHRISTIE LLP KEMP JONES LLP

 6

 7
      By: /s/ E. Leif Reid                                By: /s/ Michael J. Gayan
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19
                                                    IT IS SO ORDERED:
20
                                                    __________________________________________
21
                                                    UNITED STATES MAGISTRATE JUDGE
22                                                             1-26-2021
                                                    DATED: __________________________
23

24                 The hearings scheduled for February 1, 2021 and February 23, 2021, were
                   vacated in Judge Weksler's Recusal Order. (ECF NO. 325).
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